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        1     Patience Milrod
              844 N. Van Ness Avenue
        2     Fresno, California 93728
              559/442-3111
        3
              Attorney for REGINA CONTRERAS
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        8        IN THE UNITED STATES DISTRICT COURT IN AND FOR THE EASTERN
                                    DISTRICT OF CALIFORNIA
        9

        10

        11    UNITED STATES OF AMERICA, )               Case No. 06-cr-00033 OWW
                                            )
        12           Plaintiff,             )           STIPULATION AND ORDER TO
                                            )           CONTINUE MOTIONS HEARING
        13       vs.                        )
                                            )           Date:        June 26, 2006
        14    REGINA CONTRERAS, et al.,     )           Time:        9:00 a.m.
                                            )           Court:       Hon. Oliver W. Wanger
        15                      Defendants. )

        16           IT IS HEREBY STIPULATED by and between the parties hereto through their

        17    respective counsel, VIRNA SANTOS, Assistant United States Attorney for Plaintiff and

        18    PATIENCE MILROD, attorney for defendant REGINA CONTRERAS, to continue the

        19    motions hearing date in this matter currently set for June 12, 2006, to a new date of June

        20    26, 2006.

        21        The parties request this continuance of the motions hearing, due to the fact that

        22    defense counsel now is informed that she must appear for oral argument at the Ninth

        23
              Stipulation and [Proposed] Order to Continue Motions Hearing                      1


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                 Case 1:06-cr-00033-OWW Document 33 Filed 05/23/06 Page 2 of 2


        1     Circuit Court of appeals in USA v. Alced Broussard, U.S.C.A. No. 05-10496, on June 12,

        2     2006.

        3     IT IS SO STIPULATED.

        4         Dated: May 23, 2006:                  /s/ Patience Milrod
                                                        PATIENCE MILROD
        5                                               Attorney for defendant
                                                        REGINA CONTRERAS
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        7         Dated: May 17, 2006                    /s/ Virna Santos
                                                        VIRNA SANTOS
        8                                               Assistant U.S. Attorney

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        10                                    ORDER ON STIPULATION

        11            Having received and reviewed the stipulation of the parties, and good cause

        12    appearing therefor,

        13            IT IS HEREBY ORDERED that that the hearing presently set for June 12, 2006, at

        14    9:00 a.m., be continued to June 26, 2006 at 9:00 a.m.

        15            IT IS SO ORDERED.

        16    Dated: May 18, 2006                       /s/ OLIVER W. WANGER
                                                        __________________________
        17                                              HON. OLIVER W. WANGER
                                                        Judge of the Eastern District
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              Stipulation and [Proposed] Order to Continue Motions Hearing                     2


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